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                           CERTIFICATE OF SERVICE


      I hereby certify that on August 10, 2023 a true and correct copy of the

foregoing was served upon the counsel of record by filing it electronically with the

Court’s CM/ECF system.


                                       By:   /s/ Frederick L. Whitmer
                                             Frederick L. Whitmer
